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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ARCESIUM, LLC,

Plaintiff, Case No. 1:20-cv-04389
V. Hon. Mary Kay Vyskocil
ADVENT SOFTWARE, INC. and Magistrate Judge Hon. Stewart D. Aaron

SS&C TECHNOLOGIES HOLDINGS, INC.,
ORAL ARGUMENT REQUESTED

Defendants.

DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR A
TEMPORARY RESTRAINING ORDER
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INTRODUCTION

From its very founding in 2015, Arcesium affirmatively chose to link its own technology
offerings to an SS&C product by signing a five-year contract to license and resell SS&C’s
Geneva software. Arcesium chose to piggyback on SS&C’s many years of market-leading
innovation rather than invest in developing its own technology that could stand up independently
in the marketplace. The consequence of Arcesium’s choice is that, with the expiration of the
parties’ license agreement in January 2020, Arcesium must now develop its own solutions
without licensed access to Geneva. While it would no doubt be easier for Arcesium to continue
operating under the expired 2015 contract, Arcesium cannot achieve that result simply by
wishing it were so. Arcesium certainly is not entitled to the extraordinary and urgent assistance
of a court-ordered TRO to alter the parties’ agreement so that 1t may maintain access to Geneva
in perpetuity.

The absurdity of Arcesium’s contract position 1s apparent in its principal request for
relief: an injunction to enforce Arcesium’s so-called “continuation rights” by which SS&C
would be bound for eternity to license the Geneva product to Arcestum. Never mind that the
parties’ contract nowhere uses the term “continuation rights” and, instead, expressly provides
that SS&C may choose not to renew any customer license by providing 35 days’ notice before
the end of a license term. In their ordinary course of dealing, the parties referred to these as “run
off” rights (not “continuation rights,” the term made up by Arcesium for this litigation) because
Arcesium’s rights in fact “run off” as individual customer license terms end and 1f SS&C
chooses to not renew them (as is SS&C’s express contractual right).

Arcesium tries to distract from this dispositive fact by protesting (at length and with
increasing desperation) that it is somehow entitled to perpetual “continuation rights” because

Arcesium did not also breach the parties’ contract by improperly promoting and marketing
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Geneva to customers after Arcestum’s license had expired. Although Arcesium in fact did just
that, this Court may quickly deny Arcesium’s requested TRO on the face of the parties’ contract
and without even reaching the question of Arcesium’s breach. SS&C has an independent and
express contractual right to end customer licenses on 35 days’ notice. That unambiguous right
does not depend on Arcesium’s breach of the agreement. Rather, Arcesium’s breach is a second
and independent ground for denying the TRO.

On the merits of the breach issue, the evidence presented—including by Arcestum—
conclusively establishes that Arcestum repeatedly and destructively pitched Geneva services to
its prospective customers months after Arcesium was expressly forbidden to do so by the parties’
agreement. Arcesium also breached the parties’ agreement when Arcesium solicited for
employment SS&C’s most senior Geneva sales expert—yust two months after SS&C had given
notice of non-renewal and a matter of weeks before Arcesitum’s Geneva license was set to expire.
Not only was this conduct in blatant violation of Arcesium’s contractual non-solicitation
obligations, but it also establishes beyond any doubt that Arcestum’s decision to continue to
market Geneva after it no longer had a license to do so was deliberate and premeditated.

Finally, and critically for this application, Arcestum comes nowhere near proving the
urgent, imminent and irreparable harm required for a TRO. Arcesium’s supposed emergency of
two customer licenses expiring in July simply does not exist because SS&C has in fact now

entered into direct license agreements with both of those customers; further, SS&C has agreed

that esi

a. More broadly, Arcesium’s claim of irreparable harm on behalf of its third party customers

fails of its own weight, both because those customers are themselves not complaining (because
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they have in fact not been harmed) and because in any event the law requires Arcesium to show
irreparable harm to itself, not to third parties. As for Arcesium’s own alleged harm, Arcesium
falls back to claiming that its business may be utterly ruined without a Geneva license—an
astonishing, unsupported, and speculative claim given that Arcesium has known for eight months
now that its Geneva license would end. Yet the sky has not fallen, no third party customer has
been cut off from Geneva, and Arcesium is in fact still in business (any diminution of which
would present a classic claim for money damages, not for the emergency injunctive relief that
Arcesium seeks).

STATEMENT OF FACTS

A. Industry Background

SS&C! provides computer software and services—including the flagship Geneva
portfolio accounting product—to asset managers such as hedge funds and investment advisors,
among other financial firms. Roley Decl. { 3. The marketplace for asset management software
and services is large, fragmented, highly competitive, and rapidly evolving. Jd. { 5. Geneva
competes with many other portfolio management platforms, including BNY Mellon’s Eagle,
SimCorp, FIS’ Sungard, Enfusion, and BlackRock’s Aladdin, as well as prime brokers and
financial services firms offering fund administration services, specialized fund administration
providers, smaller providers of specialized applications and technologies and asset managers’
own internal IT departments and solutions. Jd.

SS&C distributes its products through two channels relevant here. First, SS&C licenses

Geneva directly to customers. Jd. § 10. Each such direct customer has an individual license

' SS&C Technologies Holdings, Inc. is the parent company of wholly owned subsidiaries Advent
Software, Inc. and SS&C Technologies, Inc (together, “SS&C”).

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agreement with SS&C setting forth the terms of the license such as when the license expires,
how the parties can renew it, and who may access and use that customer’s copy of Geneva. Id.
Some direct customers also obtain related services—such as hosting and integration with the
customer’s other systems—from SS&C, while other direct customers obtain such services from
third parties, including Arcestum. Jd. § 3, 7. If a direct customer wants to use a third party to
perform services related to Geneva, it must negotiate with SS&C for third-party access as part of
its Geneva license. Jd. § 10. Only authorized parties may access and use Geneva, which 1s the
copyrighted intellectual property of SS&C. Jd. § 4. Second, SS&C has reseller agreements
pursuant to which SS&C licenses Geneva to the resellers and vests them with the right to
sublicense Geneva to customers. Jd. § 4, 7.
B. SS&C’s Reseller Agreement With Arcesium

On March 25, 2015, SS&C entered into a five-year Hosted Reseller Agreement with
Arcesium (the “HRA”). Nathanson Decl. Ex. A.” Under the terms of the HRA, Arcesium
received a license from SS&C to “load, install, access, execute, perform, display, view, store and
otherwise use” Geneva. Ex. A § 3.1. This license enabled Arcesium not only to resell Geneva to
customers, but also gave it the right to host and perform value added services for customers, Ex.
A §§ 3.1, 6.1. Arcesium is one of many technology services companies that offer solutions to
financial firms, including technical support, hosting, and value-added services. Roley Decl. § 6.

When reselling Geneva, Arcestum was required under the HRA to enter into an
agreement with the end customer containing terms attached to and made part of the HRA. Ex. A

§ 4.3 & Ex. C-1. The list of required terms contains a provision stating that the resold customer’s

* References to Ex. are the exhibits attached to the affidavit of John Nathanson, dated June 25,
2020.
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sublicense to use Geneva automatically terminates upon the termination of the HRA, in which
case it was contemplated that SS&C would enter direct licenses with the customer:

Termination. The rights and license to the Software set forth in this Agreement shall
automatically terminate upon the termination of Vendor’s agreement with Advent
Software, Inc. (“Supplier’’) that grants Vendor the rights to sublicense the Software
to Client. Client may need to contact Supplier directly for continued use of the
Software following termination of Vendor’s agreement.

Ex. A Ex. C-1 §3. The HRA was set to expire by its terms on January 10, 2020, as long as SS&C
gave at least 90 days’ advanced notice of its intent not to renew. Ex. A §§ 10.1, 10.2.

SS&C’s goal in entering the HRA was to increase its revenues by encouraging Arcesium
to market Geneva to new customers. Roley Decl. § 11. This arrangement proved unsuccessful
because Arcesium brought in very few customers that were accretive to SS&C’s Geneva
revenue. Indeed, Arcesium had only four resold customers when the HRA expired. Jd. ¥ 15.

Unwilling to continue a commercially flawed arrangement, SS&C notified Arcestum on
October 1, 2019 that it would not renew the HRA when the term expired on January 10, 2020.
Ex. F. This provided the requisite notice to terminate the contract set forth in Section 10.2 of the

HRA. Ex. A § 10.2. Over the next few weeks, SS&C offered to renew Arcesium’s contract on

ee. Roley Decl. § 13. Arcesium rejected SS&C’s proposals, and in

November 2019, the parties agreed that they were not going to reach a renewal agreement. Ex.
G. On January 10, 2020, the HRA expired by its terms. Ex. A § 10.1.
C. Arcesium’s Resold Customer Contracts
Only four resold customer agreements existed as of January 10, 2020, the date the HRA
expired. Roley Decl. § 15. Each of these customers has a Geneva license that will remain valid

until each customer’s individual license (or renewal term of that license) expires. Jd. § 16. The
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earliest license expiration among the four customers is July 10, 2020 for Firm E. Ex. B. The
other three customers are Firm M, Firm D, and Firm I. Roley Decl. § 15, 19. These customers’
licenses expire between January 2021 and October 2022. Ex. C; Ex. D; Ex. E. All four resold
customers’ licenses automatically renew unless either SS&C or Arcesium provides at least 35
days’ notice prior to expiration. E.g., Ex. B (Firm E license automatically renews “unless either
[Arcesium] or [SS&C] provides thirty five (35) days advance notice to the other party prior to
the expiration of the then-current term of its intent not to renew . . .”).
D. Arcesium’s “Run Off’ Rights For Resold Customers

Upon the expiration of the HRA on January 10, 2020, Arcesitum’s Geneva license—and
its right to use, access, promote, or market Geneva and related software—terminated. Ex. A §
10.4. As relevant to this dispute, only a few provisions of the contract survive termination. Ex. A
§ 10.7. One of the surviving provisions is Section 10.4. Under Section 10.4, Arcesium’s
obligation upon expiration of the contract is that it would immediately cease promoting,
marketing, or offering to sell Geneva. Ex. A § 10.4(a). Arcesium also promised not to “service
any party with [Geneva], or offer or provide access to [Geneva] to any party,” except with
respect to the four existing resold customers. Ex. A § 10.4(a). SS&C included these prohibitions
in the HRA because it did not want Arcestum to promote Geneva in any way after the expiration
of the HRA. Roley Decl. § 21. SS&C carefully monitors and controls the marketing of Geneva to
ensure that information disseminated to the market is accurate, complete, and consistent with
SS&C’s marketing strategies, and so that prospective clients’ expectations are appropriately set.
Id. These efforts are undermined if unauthorized parties market Geneva on their own. Jd.

For its part, SS&C agreed under Section 10.4 to allow any existing resold customer to use

Geneva through the end of the customer’s existing sublicense term and any renewal term, if
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agreed. Ex. A § 10.4(b). SS&C further agreed that it would continue to provide support services
to these customers until their Geneva sublicense terms ended. Ex. A § 10.4(c). Arcesium in its
brief refers to these provisions as “Continuation Rights”—a term that appears nowhere in the
HRA. When not engaged in litigation, Arcesium called these “run off rights” (and acknowledged
in correspondence with SS&C that “the run-offs end”), Ex. H, which is a more accurate
characterization because Arcesium’s existing resold customers have the right to use Geneva only
through the end of their current term (and any renewal term to which both parties agree), not to
continue using Geneva 1n perpetuity. Ex. A § 10.4(b).
E. Arcesium’s Improper Marketing and Promotion of Geneva

Arcesium did not abide by its obligations under Section 10.4. Although Arcesium has
refused to disclose any information about its post-expiration efforts to market, service and access
Geneva, see Ex. J (requesting such disclosure), SS&C has uncovered substantial evidence that
Arcesium had been flouting these terms:

e One Geneva prospect, Firm J, informed SS&C in January 2020 that it was considering
Arcesium in addition to SS&C for its portfolio accounting needs. Nolan Decl. 4. On
March 10, 2020—two months after Arcesium was prohibited from marketing or
promoting Geneva to new clients—Firm J inadvertently sent an email to SS&C that was
meant for Arcesium. Nolan Decl. ¥ 5. In the email, Firm J reminded Arcesium to be sure
to include Geneva pricing in its proposal to Firm J, indicating that Arcestum was
improperly discussing a Geneva license as part of its offering to Firm J. Id.

e Another Geneva prospect, Firm A, informed SS&C in February 2020 that it planned to
use Arcesium to host and integrate Geneva into its other systems. Bernardino Decl. § 4.
Firm A was very familiar with technical issues relating to Geneva, indicating that it was
well along in discussions with Arcesium. Jd. When SS&C informed Firm A that
Arcesium was no longer an authorized Geneva licensee and no longer could use or access
Geneva, Firm A was surprised, a clear indication that Arcesium had not advised Firm A
that it no longer had a license. Jd. §] 5. Over the next couple of months, Arcesium
repeatedly encouraged Firm A to pressure SS&C to make an exception and allow
Arcesium to continue to service Geneva, which SS&C declined. As a result of Arcesitum
creating the expectation that it could provide a Geneva solution, Firm A was disappointed

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with SS&C when SS&C made clear that Arcestum was no longer authorized and no
exceptions would be made. Bernardino Decl. { 6; Roley Decl. § 23-26. SS&C ultimately
lost the business. Roley Decl. § 27.

e Intwo other examples, financial firms who were Geneva prospects told SS&C in March
and April 2020 that they understood they could obtain Geneva services from Arcesium.
Kanwar Decl. § 2-3. When SS&C informed the prospects that Arcesium was no longer a
Geneva licensee, the prospects were surprised, indicating that Arcestum had continued to
speak with them about Geneva even after its license expired. Jd.

If there is any doubt as to whether Arcesium intended to continue to promote and offer
Geneva following expiration of the HRA, such doubt is resolved by Arcesium’s efforts to bolster
its internal Geneva sales capacity even as its Geneva license was about to expire. In December
2019, two months after SS&C provided its notice of non-renewal, and when Arcesium knew that
its Geneva license would expire in a few weeks, Arcesium improperly tried to hire SS&C’s key
Geneva sales executive. Nolan Decl. § 6; Nolan Decl. Ex. A. Arcesium was looking to fill the
position of “Sales Engineer,” responsible for marketing and sales of Arcesium’s solutions. Jd.
Arcesium interviewed the SS&C executive about his Geneva work, making clear that Arces1um
wished to draw on that expertise if he were hired. Jd. The employee declined the offer. Jd.
Arcesium’s effort to poach SS&C’s key Geneva employee was a blatant violation of the HRA,
which prohibits Arcesium from soliciting SS&C employees during the term of the HRA and for
one year thereafter. Ex. A § 17.9. Further, this solicitation demonstrates that Arcesium’s decision
to continue marketing Geneva following expiration of the HRA was deliberate and premeditated.

F. SS&C Declares Arcesium in Material Breach

On April 13, 2020, SS&C sent a letter to Arcesium declaring Arcesium in material breach
of the contract based on Arcesium’s continued marketing and offers of access to Geneva and
related services. Ex. I. SS&C demanded that Arcesium disclose the identities of any prospects to

which Arcesium had offered Geneva (a request to which Arcesium has never responded). Jd.

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SS&C terminated all of Arcesium’s surviving rights under the HRA, including Arcesitum’s right
to have its own Geneva development license. Jd. SS&C expressly stated that Arcesitum’s four
existing resold customers could continue to access and use Geneva, but Arcesium could not
continue providing Geneva-related services that require a license. Jd. While SS&C never cut off
or threatened to cut off any customer’s access to the Geneva support portal, Arcesitum has
feigned injury by pretending as if customers were no longer receiving service. Ex. J. To clarify,
SS&C emailed Arcesium on April 22, 2020 to tell it that SS&C would address any Geneva-
related support or technical issues for their four resold customers. Ex. L. The resold customers’
access to Geneva and the support portal remain active to this day. Roley Decl. § 29.
G. SS&C’s Subsequent License Negotiations

Much of Arcesium’s TRO request is premised on the supposed business disruption that
will befall two customers whose Geneva licenses are set to expire in July: Firm F (a direct
customer of SS&C that uses Arcesium for Geneva-related services) and Firm E (a resold
customer). SS&C has already entered into new license agreements with Firm F and Firm E and

has provided them with new license keys. Roley Decl. J 17, 32. As part of its new agreement

ith Fi
Id. SS&C is likewise in discussions with Firm F ee. a
ee. Id. In short, neither of these customers is at any

risk of losing access to Geneva in the near-term.’

3 Arcesium also refers in its submission to three customers whose license keys expire in August,
September, and November 2020, which are Firm H (a direct customer), Firm I (a resold
customer), and Firm D (a resold customer). Suri Decl. § 25. Arcesium never mentioned these
customers in correspondence leading up to its TRO motion. Further, Arcesium is confusing the
duration of these customers’ Geneva licenses with interim billing events by which SS&C ensures
that the customers pay their annual license fees. The terms of these customers’ Geneva licenses

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ARGUMENT

A TRO is an “extraordinary and drastic remedy” that should be granted only if the
movant carries its burden “by a clear showing.” Moore v. Consol. Edison Co., 409 F.3d 506, 510
(2d Cir. 2005). A movant is entitled to a TRO if it proves that (a) it will suffer irreparable harm
absent the TRO and (b) either (1) it is likely to succeed on the merits of its claim or (2)
sufficiently serious questions about the merits exist, plus a balance of the hardships tip decidedly
in movant’s favor. E.g., Otoe-Missouria Tribe of Indians v. N.Y. Dep’t of Fin. Servs., 769 F.3d
105, 110 (2d Cir. 2014). Arcesium cannot carry its burden as to any of these elements.

I. ARCESIUM HAS NOT SHOWN THAT IT WILL SUFFER IRREPARABLE
HARM

Irreparable harm is the most important element in the TRO analysis. Rodriguez ex rel.
Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d Cir. 1999). To prove irreparable harm, a movant
must show that without a TRO it will suffer “an injury that is neither remote nor speculative, but
actual and imminent,” and one that cannot be remedied with money damages. Jd. Arcesium does
not come close to making the necessary showing.

A. Arcesium’s TRO Request Is Untimely And Its Claimed Urgency Is Self-Inflicted

Arcesium’s several-month delay in filing this TRO request despite being aware of the
challenged conduct is reason enough to deny the requested relief. As the Second Circuit has
emphasized, “[p|reliminary injunctions are generally granted under the theory that there is an

urgent need for speedy action to protect the plaintiffs’ nghts. Delay in seeking enforcement of

do not come up until September 2021 (Firm I), August 2022 (Firm H), and October 2022 (Firm
D). Id.

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those rights, however, tends to indicate at least a reduced need for such drastic, speedy action.”
Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d Cir. 1985).

Here, Arcesium concedes that it has known the facts underlying its claim for many
months. Arcesium admits that SS&C sent notice of its intent not to renew the HRA on October 1,
2019 and that the HRA expired by its terms on January 10, 2020. TRO Mem. at 8. The main
alleged breach underlying Arcesium’s motion occurred on April 13, 2020, when SS&C
terminated Arcesium’s post-expiration rights due to Arcesium’s continued marketing of Geneva.
See id. at 13. Arcesitum understood that it could no longer access its support portal on April 13,
2020 (however, each customer has its own support portal that remains active to this day), id. at 9;
that its development license was revoked on April 20, 2020, id. (citing Dougherty Decl. ¥ 16);
and, by early May, that SS&C would not commit to renewing the licenses of Firm E or Firm F
(the two customers with July license expirations), Ex. N.

Arcesium also was aware months ago of the alleged harm that it now characterizes as
urgent and irreparable. On April 16, 2020, Arcesium asserted that it would be irreparably harmed
by SS&C’s supposed April 13, 2020 breach. Ex. J at 3. On May 7, 2020, Arcesium’s counsel
again asserted that it would suffer irreparable harm if SS&C did not commit by a deadline of
May 11, 2020 to provide new license keys for the two customers with July expirations. Ex. M at
2. That date came and went without SS&C committing to give Arcesium new license keys.

All of these events—including the facts underlying Arcesium’s claims and Arcesium’s
assertions of irreparable harm—took place months ago, yet Arcesium waited until now to file
this motion. Arcesitum’s months long delay clearly establishes that any harm it claims to suffer is
neither urgent nor irreparable. See, e.g., Christopher Norman Chocolates, Ltd. v. Schokinag

Chocolates N.A., Inc., 270 F. Supp. 2d 432, 438 (S.D.N.Y. 2003) (movant’s delay in requesting

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relief after a contract was terminated established that injury was not irreparable); Roberts v. Atl.
Recording Corp., 892 F. Supp. 83, 87-88 (S.D.N.Y. 1995) (delay of 12 days after a self-imposed
deadline precluded finding of irreparable harm).
B. The HRA Does Not Create A Presumption Of Irreparable Harm

Arcesium emphasizes a provision in the HRA that it says creates a presumption of
ireparable harm. TRO Mem. at 21-22. The plain language of this provision shows otherwise:

Both Parties agree that any violation or threatened violation of Section 3 (License),

Section 12 (Confidential Information), Section 15 (Ownership) and Section 18.9

(Non-Solicitation) of this Agreement may cause irreparable injury to the other

Party for which monetary damages may not be an adequate remedy and that each

party will be entitled fo seek injunctive relief in addition to any other damages or

equitable relief for any breach of the above.
Ex. A § 17.12 (emphasis added). As a threshold matter, Section 17.2 does not apply to
Arcesium’s claims because Section 17.2 is expressly limited to four specific provisions in the
HRA, which do not include Section 10.4 on which Arcesium bases its breach of contract claim.*

Even if it did apply, Section 17.12 does not create a presumption of irreparable harm. It
merely clarifies that either party may seek injunctive relief, i.e., that the option of injunctive
relief may be pursued, not that it is justified or admitted. This permissive language is
categorically different from the language in the cases Arcesium cites, where the parties agreed
that certain types of breaches would in fact constitute irreparable harm. See Roswell Capital

Partners v. Alt. Constr. Techs., No. 08 Civ. 10647 (DLC), 2009 WL 222348, at *17 (S.D.N_Y.

Jan. 30, 2009) (contract terms “specify[ing] that a default constitutes irreparable harm’’);

* Section 17.12 includes a reference to the HRA license provision, Section 3.1. At the time of
SS&C’s alleged breach, the HRA had expired, and Section 3.1 did not survive termination. Ex.
A. Thus, Arcesium did not have rights under that provision after January 10, 2020.

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Iannucci v. Segal Co., No. 06 Civ. 4720 (PKL), 2006 WL 8407380, at *3 (S.D.N.Y. June 26,
2006) (“Here, the Agreement states that plaintiff recognizes that a breach of the restrictive
covenant would irreparably injure Segal.”); Bank of Am. N.A. v. PSW NYC LLC, 29 Misc. 3d
1216 (A) (N-Y. Sup. Ct. 2010) (parties acknowledged that “a breach by any party hereunder
would cause irreparable harm . . .”). And irrespective of the terms of the contract, courts must
still make an independent evaluation of irreparable harm. See Bakers Aid v. Hussman
Foodservice Co., 830 F.2d 13, 16 (2d Cir. 1987).

C. Arcesium Cannot Premise Its Showing Of Irreparable Harm On Supposed Injuries
To Its Customers, And There Are No Such Injuries In Any Event

Throughout its brief, Arcesium asserts that its inability to maintain perpetual access to
Geneva will disrupt the business of its customers who use Arcesium for Geneva related services.
See, e.g., TRO Mem. at 1, 2, 3, 4, 7, 13, 22-23. But disruption to customers (even if true, which it
is not) does not support Arcesium’s request for a TRO because it would not be harm ro
Arcesium. E.g., Biocon Ltd. v. Abraxis Bioscience, Inc., No. 16-CV-6894 (RMB), 2016 WL
5817002, at *4 (S.D.N.Y. Sept. 26, 2016) (terminated prescription drug distributor could not
establish irreparable harm by potential injuries to non-party patients). It is well settled that a
party moving for a TRO must show “that if will suffer irreparable harm in the absence of an
injunction.” Zervos v. Verizon New York, Inc., 252 F.3d 163, 172 (2d Cir. 2001) (emphasis
added). The moving party cannot premise its claim on the injuries to non-movants. Moore, 409
F.3d at 511 (“We also affirm the court’s holding that the alleged harm to third parties did not
provide plaintiff a basis for a preliminary injunction in this case.”’); Sterling v. Deutsche Bank
Nat’l Tr. Co., 368 F. Supp. 3d 723, 728 n. 9 (S.D.N-Y. 2019) (‘To the extent that Plaintiffs

claim of irreparable harm is premised on Defendants’ attempts to collect rent from Plaintiffs

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tenants, his claim fails because the harm caused by such behavior is to tenants, not to Plaintiff.”’):
Biocon, 2016 WL 5817002 at *4 (collecting cases).

The customer harm that Arcesium predicts has no basis in reality in any event. Only two
of its customers (Firm E and Firm F) have licenses that will expire any time soon (in July), and

neither of those customers is at risk of suddenly losing access to Geneva. To the contrary, SS&C

has entered into new licenses with each of these customers. Firm iii
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neither these two customers nor any other has filed a declaration in support of Arcesitum, much
less moved for their own injunction to prevent their Geneva licenses from expiring. Similarly,
even though Arcesium months ago lost its own Geneva development license key (which allows it
to test and modify Geneva-related products) no customer has complained that its service has
been disrupted. The lack of complaints is unsurprising because Arcesium does not need the
development key for its resold customers to use Geneva effectively. Roley Decl. § 30. The fact is
that the customers’ use of Geneva is entirely intact. Jd. 29.

D. Arcesium’s Alleged Loss Of Business Is Not Irreparable Harm

Arcesium’s contention that it will lose customer revenue when it no longer has a Geneva

license amounts to “quintessentially compensable damages.” Sunni, LLC v. Edible
Arrangements, Inc., 2014 WL 1226210, at *10 (S.D.N.-Y. Mar. 25, 2014) (quoting Freeplay
Music, Inc. v. Verance Corp., 80 F. App'x 137, 138 (2d Cir. 2003)). This is especially so in the
context of a lost revenue claim based on a finite number of customer contracts from which
damages may be readily calculated. Dexter 345 Inc. v. Cuomo, 663 F.3d 59, 63 (2d Cir. 2011)

(affirming district court’s finding of no irreparable harm where movant had at least a four year

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business history from which any money damages could be calculated); Stewart v. United States
IN-.S., 762 F.2d 193, 199 (2d Cir. 1985) (“Mere injuries, however substantial, in terms of money,
time and energy . . . are not enough to justify injunctive relief.”); Caruso Mgmt. Co. v. Int’l
Council of Shopping Ctrs., No. 18 Civ. 11932 (VM), 2019 WL 1949801, at *3 (S.D.N.Y. Apr.
18, 2019) (“Ifa movant can calculate the harm caused by shuddering their entire business, or a
substantial component of it, then there is no irreparable harm.”’). Nothing in Arcestum’s
submission justifies disregarding this common sense and well-established rule.

As an initial matter, Arcesium makes no distinction between its potential loss of business
from SS&C’s direct customers—as relevant here, Firm F and Firm H—and Arcesium’s resold
customers. The distinction is critical because Arcesium is not a party to SS&C’s contracts with
its direct customers and, as such, each of these direct customer’s rights to Geneva have nothing
whatsoever to do with the HRA. Roley Decl. § 31; see supra at 4. Put another way, even if
Arcesium were successful in enforcing run off rights under the HRA, SS&C would nevertheless
have the absolute right to not renew a direct customer’s license to which Arcesium 1s not a party
and over which Arcesium has no say. Because any harm associated with Arcesium’s loss of
business from SS&C’s direct customers is unrelated to Arcesium’s claim for relief, such business
losses may not support a claim of irreparable harm.° See, e.g., Mostaghim v. Fashion Inst. of
Tech., No. 01 Civ. 8090 (HB), 2001 WL 1537545, at *2 (S.D.N.Y. Dec. 3, 2001) (irreparable

harm must flow from violation alleged in the preliminary relief motion).

> To the extent Arcesium contends that its post-expiration rights under the HRA somehow apply
to SS&C’s direct customers, Arcesium 1s wrong. These rights extend only to customers with
“Customer Agreements” existing at the time the HRA expires. Ex. A § 10.4. In turn, “Customer
Agreements” are defined to include only Arcesium’s resold customers. Ex. A § 4.3 (requiring
Arcesium to use the terms listed in HRA Ex. C in its resold customer contracts, including
language that Arcesium is sublicensing Geneva). See also Ex. A Ex. C-1.

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Arcesium’s position does not get any better when only considering its four resold
customers who are subject to the HRA. Firm E is the only resold customer with an upcoming
license expiration (in July) and, as explained above, SS&C has entered a new direct license with
Finn E which alos Fi: Fcc
ee. With respect to the other two resold customers mentioned in Arcesium’s
application—Firm I and Firm D—Arcesium has not shown that either customer is at imminent
risk of losing Geneva nor that Arcesium’s revenue from these two particular customers is in any
way material to Arcesium’s overall business. Indeed, in its complaint, Arcesium claims to be
losing money on its Firm D contract. Compl. § 79.

Even if Arcesium’s loss of customer revenue months or years from now could somehow
be considered “imminent,” Arcesium would have to show that such losses would “obliterate . . .
its entire business.” Subaru Distribs. Corp. v. Suburu of Am. Inc., 47 F. Supp. 2d 451, 474
(S.D.N.Y. 1999) (“[N]otice of termination threatens irreparable harm when termination of the
franchise would obliterate the dealer’s entire business,” citing Semmes Motors, Inc. v. Ford
Motor Co., 429 F.2d 1197, 1205 (2d Cir. 1970)). Arcesium falls woefully short of this
demanding standard as it has made no effort to quantify lost profits from the four resold
customers or the effect that those lost profits would have on its business. Sunni, 2014 WL
1226210, at *11 (finding no irreparable harm where the movants relied only on their owner’s
self-serving statement that they would lose 60 percent of their customers but “submitted no
evidence regarding their current capitalization, their annual or monthly profits, or their ability to
withstand a significant loss in business, or even closure, for a short period of time”).

As for the cancelled development license (to which Arcesium has not had access since

April), Arcesium offers no details about the harm that might occur if it 1s not provided with a

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new key, much less shown that its entire business will be “obliterated” if it does not get one. See
Dougherty Decl. § 16 (stating only that lack of a development license will “put important
delivery deadlines for ongoing development work at serious risk and inhibit Arcesium’s ability
to support its customers.”). Similarly, the fact that a significant percentage of Arcesium’s
business today relates to Geneva does not mean that it cannot make adjustments as the resold
agreements expire over the next couple of years. Any claim that Arcesium’s business will be
“obliterated” is therefore unsupported and entirely speculative.

Finally, Arcestum’s assertion of irreparable harm to its reputation and goodwill is simply
a repackaging of its inadequate “destruction of business” theory. Arcesium’s contention is
premised on the false assumption that customers will “abruptly” be cut-off from Geneva
“without time to transition to a new provider” and then blame Arcesium for being left in the
lurch. TRO Mem. 22-23. Such a claim is baseless as (1) SS&C notified Arcesitum in October
2019 that it would not renew the HRA and Arcesium has therefore had ample time to make
transition plans with its customers; (ii) the HRA provides that the customer agreements terminate
upon expiration of the HRA and that the customers may contract directly with SS&C, HRA Ex.
C-1, which is exactly the procedure being followed with Firm E; (111) the Firm E a
I 2 6) Acceso
provides no evidence that the Geneva licenses for Firm I and Firm D will be imminently
disrupted or that these two customers are critical to maintaining Arcesium’s reputation. In short,
Arcesium’s alleged harm to its goodwill and reputation is highly speculative, and it is wholly

within Arcesium’s control to manage the transition responsibly to reduce any such impact.

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II. ARCESIUM HAS NOT SHOWN LIKELIHOOD OF SUCCESS ON THE MERITS

Arcesium’s claim that it has perpetual “continuation rights” to Geneva 1s contradicted by
the plain language of the HRA, which allows for limited run off rights only for the duration of a
resold customer’s current license term, and any renewal of that term (which either party is free to
decline). Separately, SS&C terminated any run off rights Arcestum might have had after the
HRA expired when it discovered that Arcesium had repeatedly breached its promise not to
market and promote Geneva.

A. SS&C Has The Right Not To Renew Arcesium’s Resold Customers’ Licenses

Arcesium argues that Section 10.4 of the HRA allows it to provide Geneva to its resold
customers “indefinitely” upon expiration of the HRA. TRO Mem. 7. Such an interpretation flies
in the face of New York public policy against contracts of “indefinite duration.” See, e.g.,
Compania Embotelladora Del Pacifico, S.A. v. Pepsi Cola Co., 607 F. Supp. 2d 600, 603
(S.D.N.Y. 2009) (collecting cases). Even more importantly, Arcesium ignores that Section 10.4
allows limited customer run off rights only for “the duration of the initial term and any renewal
term” of the customer’s sublicense. Ex. A §10.4 (emphasis added). The HRA as well as the
customer ordering documents all allow SS&C to choose nor to renew a sublicense on 35 days’
notice prior to the term expiration. Id. § 6.9.

The reference to “any renewal term” in Section 10.4 clearly means that, in the context of
customer run off rights after the HRA is terminated, SS&C may choose not to renew a resold
customer’s sublicense when the initial license term expires. Not only is this the plain meaning of
Section 10.4, but other provisions of the HRA also repeatedly refer to the expiration and non-
renewal of resold customer licenses, i.e., that they are not perpetual. E.g., Ex. A § 6.7 (requiring

Arcesium to transmit relevant terms of its customer agreements to SS&C, including the length of

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the sublicense term); § 6.9 (customer license automatically renews “unless either [SS&C] or
[Arcesium] provides thirty five (35) days advance notice to the other party prior to the expiration
of the then-current term); id. (“If a Customer Initial Term (or any subsequent renewal term) is
not renewed for a Product, Reseller shall have no further right to service the Customer”)
(emphasis added); Ex. A-1 (defining “Customer Term End Date”), Ex. C-1 (requiring a provision
in Arcesium’s resold customer contracts that the customer’s license terminates upon the
termination of the HRA); id. (resold customers “may need to contact [SS&C] directly for
continued use of the Software following termination of’ the HRA). Notably, the customers’
ordering documents themselves characterize their sublicenses as “term” licenses and repeat that
either party may choose not to renew at the conclusion of a license term. See Exs. B, C, D, E..
Certainly, Arcesium has not identified clear and unambiguous contract language necessary to
establish a perpetual obligation. Compania Embotelladora, 607 F. Supp. 2d at 603.

Arcesium should not be surprised that, following termination of the HRA, its right to
sublicense Geneva to existing customers is not “indefinite.” While Arcesium has adopted the
label “continuation rights” for purposes of this TRO request, when Arcesium was discussing
these rights in the ordinary course it referred to them as “run off rights” because it understood
that the customers can continue to use Geneva only until their terms “run off.” See Ex. H.
Indeed, in correspondence on January 10, 2020—the very day the HRA expired—Arcesium
acknowledged in correspondence with SS&C that “the run-offs end.” Jd. That is also how the
resold customers see it: after SS&C sent a notice of non-renewal for the Firm E sublicense on
June 4, 2020, Firm E did not argue that its sublicense from Arcesium perpetually remained valid,

but instead negotiated a new direct license with SS&C, as contemplated by the HRA. Roley

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Decl. § 17. Arcesium’s attempt via this TRO application to rob SS&C of its bargained-for
termination rights has no basis in the HRA or New York law and must be rejected.
B. Arcesium Repeatedly Breached Its Obligation Not To Market And Promote Geneva

An additional, independent ground to reject Arcesium’s so-called perpetual “continuation
rights” is that Arcesium itself breached its obligations under Section 10.4 of the HRA, and
SS&C’s performance is therefore excused.

Upon expiration of the HRA, Arcesium was required under Section 10.4 to “immediately
cease promoting, marketing and offering to sell [Geneva] to prospective Customers” and
Arcesium’s “right to service any party with [Geneva], or offer or provide access to [Geneva]” to
any new customers “shall terminate.” Ex. A § 10.4. This provision was critically important for
SS&C, which did not want unauthorized parties marketing and promoting a flagship product and
the attendant risks of inconsistent messages, inaccurate information, and disruption of SS&C’s
own extensive Geneva marketing efforts. Roley Decl. § 21.

Arcesium repeatedly and blatantly disregarded its post-termination obligations. In the
three months after the HRA expired, SS&C was informed by not one but four separate
prospective purchasers of Geneva that they were considering obtaining Geneva or Geneva
services from Arcesium. See supra at 7-8. While the full story of Arcesium’s misconduct 1s
uniquely in its possession (and Arcesium has refused to disclose those facts to SS&C), SS&C has
discovered ample evidence that Arcesium was pitching its Geneva capabilities to prospective
customers after the January 10, 2020 expiration of the HRA. Jd. In fact, Arcesium had clearly
decided in December 2019 (after it received SS&C’s notice of non-renewal) that it would
continue marketing Geneva as evidenced by Arcesium’s improper solicitation of SS&C’s key

Geneva sales executive. Supra at 8. There is no explanation for this outrageous conduct in direct

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violation of the HRA other than that Arcestum made a conscious choice to disregard its
contractual obligations to maintain its Geneva business after it was no longer licensed to do so.

Arcesium carefully avoids making any factual denial that it promoted and marketed
Geneva after the HRA expired. Instead, Arcesium focuses on its efforts in May 2020—a full four
months after the January 10, 2020 expiration date—to “cure” the breach by affirmatively
informing customers that any Geneva license would require consent from SS&C. TRO Mem. at
10. But, contrary to Arcesium’s argument, Section 10.4 of the HRA contains no notice and cure
provision; Arcesium only had the right to a notice and cure period if SS&C terminated the HRA
during the term of the agreement for material breach under Section 10.3. Section 10.3 did not
survive expiration. Ex. A § 10.7. Accordingly, once the HRA expired—and the parties’ conduct
was governed by Section 10.4—no notice and cure process applied.

Further, Arcesium’s supposed “cure” was ineffective and only exacerbated the breach.
See Sinco Ine. v. Metro-N. Commuter R.R. Co., 133 F.Supp.2d 308, 313 (S.D.N.Y. 2001) (party
attempting to cure has the burden to prove the cure is effective). For example, Arcesium sent a
script to its sales personnel that informed prospective customers: “We'd be happy to talk about
including Geneva in your Arcesium solution if that’s of interest and Advent is willing.” Nable
Decl. { 17. This statement is exactly what the parties agreed to avoid as it created unrealistic
expectations on the part of the customers that Arcestum (now an unauthorized, unlicensed party)
could meet their Geneva needs and put SS&C in the untenable position of either reversing its
decision not to renew the HRA or alienating the customer. Roley Decl. § 26. Section 10.4 does
not provide any exception for Arcesium’s marketing efforts that shift responsibility for license

decisions to SS&C; the point of Section 10.4 is that Arcesium must immediately cease any

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promotion or marketing of Geneva, or offering to sell or provide access to Geneva. Arcesium
clearly violated that obligation.

Finally, Arcesium’s intentional and repeated breaches of Section 10.4 were
unquestionably “material.” Upon termination of the HRA, the parties’ surviving obligations were
narrow. As to Section 10.4—the applicable post-termination provision at issue here—Arcesium’s
only continuing obligation was to cease any promotion or marketing of Geneva, or offering to
sell or provide access to Geneva. Not only did Arcesium disregard the one obligation it had
(which it did in a deliberate, premediated manner, having improperly tried to recruit SS&C’s top
Geneva sales person), but the effect of the breach was precisely what SS&C had bargained to
avoid. Roley Decl. § 26. Arcesium’s failure to comply with this important, bargained-for
obligation goes to the “root” purpose of the HRA’s post-termination provisions and excuses
SS&C from any remaining obligations it may have had under the HRA. Wechsler v. Hunt Health
Sys., Ltd., 330 F. Supp. 2d 383, 417 (S.D.N.Y. 2004); Marisa Cristina, Inc. v. Freis, 646 F.
Supp. 252, 254 (S.D.N.Y. 1986) (“| With the breach fall all other parts of the contract’) (internal
quotation marks omitted).

C. Arcesium Is Not Likely to Succeed On The Merits Of Its Breach Of Contract Claim
Concerning The Alleged Firm E Renewal Agreement.

Unable to demonstrate any breach by SS&C, Arcesium desperately attempts to convert
an errant automated email reminder into a one-year renewal of the Firm E sublicense. TRO
Mem. at 20-21. Arcesium’s “gotcha” approach to contract interpretation is wrong on the merits.
SS&C’s automated email was not an offer to Arcesium because “[a]n offer does not exist unless
the offeror manifests an intent to be bound.” Neenan v. United States, 112 Fed. Cl. 325, 329
(2013), aff'd, 570 F. App’x 937 (Fed. Cir. 2014); see Kolchins v. Evolution Mkts., Inc., 31

N.Y.3d 100, 106 (2018) (whether an agreement exists “is not to be put on any single act, phrase
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or other expression, but, instead, on the totality of all of these, given the attendant circumstances,
the situation of the parties, and the objectives they were striving to attain.”). Here, SS&C did not
manifest an intent to be bound; in fact, the totality of the circumstances indicates just the
opposite.

In the lead up to the inadvertent email, SS&C and its counsel had been telling Arcesium
for weeks that Arcesium’s rights to continue using Geneva to service customers had expired and
that its surviving rights to service resold customers had been terminated because of Arcesium’s
breaches. Exs. I, K, M. In the face of these clear communications, it is not credible that Arcestum
would have seriously thought that an obviously auto-generated email constituted an offer to
renew on terms that would have allowed Arcesium to continue to use Geneva. Arcesitum knows
that too. Arcesium’s haste to accept SS&C’s inadvertent “offer” and the legalistic way in which
its “acceptance” was drafted belies the notion that Arcesium believed that SS&C’s email was a
genuine offer to renew. Ex. O. Moreover, the day after being notified of this supposed
“acceptance,” SS&C’s counsel explained that the email was accidental and did not constitute an
offer. Ex. P. And, as Arcesium admits, the parties’ prior course of dealing was that a license
would be renewed, and license keys provided, only after SS&C generated an invoice and
Arcesium made payment. Cicalo Decl. J 5-8; Roley Decl. § 19. None of that occurred, which
was yet another signal that the email was unintentional and that no agreement was

consummated. °®

6Arcesium’s two cited cases are distinguishable. In, Kolchins, the offeror sent a “congratulatory
exclamation” after the offer was accepted. 31 N.Y.3d at 107. That is far from the case here where
the opposite occurred: SS&C’s counsel explained that the email was unintentional and did not
constitute an offer. Derven v. PH Consulting, Inc., 427 F. Supp. 2d 360 (S.D.N-Y. 2006) does
not support Arcesium either. In that case, the court looked at the parties’ prior course of dealing
to determine whether a contract existed. Here, the parties’ course of dealing involved SS&C

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Even Firm E—whose sublicense was supposedly renewed—has not acted as if
Arcesium's position is correct. Instead of relying on the alleged renewal of the sublicense via
Arcesium, Firm E continued to negotiate and then entered a direct license agreement with SS&C.
Roley Decl. § 17. Taken together, these events show that Arcesium alone clings to a desperate
argument that a quickly repudiated auto-generated email—that was contrary to everythng SS&C
was telling Arcesium, the parties” previous course of dealing, and the customer’s own actious—
constituted a legitimate offer. Simply put, no contract was made.

Further, notwithstanding Arcesium’s incorrect interpretation of the law, under Firm E’s

new direct license with SSC, iS bo \cy

Decl, §| 17. Even if Arcesium were correct that the renewal had occurred—which it has not—the

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hardly the stuff of irreparable harm.

Il THE BALANCE OF HARDSHIPS DOES NOT TIP DECIDEDLY IN
ARCESIUM’S FAVOR

The balance of the hardships do not tip “decidedly” in Arcesium’s favor, nor would the
injunction preserve the status quo. TRO Mem. 24. In actuality, any hardship that Arcesium
imagines pales in comparison to the harm that a TRO would inflict on SSK&C.

The status quo for more than two months has been that SS&C has terminated Arcesium’s

rights to continue using SS&C’s intellectual property for its resold customers, including because

mvoicing Arcesium and payment. None of that took place, which demonstrates there was no
contract.

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of Arcesium’s repeated breaches. What Arcesium 1s asking for in this TRO application is an
affirmative injunction to allow it to “indefinitely” exploit SS&C’s intellectual property, not only
with respect to the four resold customers sublicensed under the HRA but also with respect to
SS&C’s direct customers whose contracts have nothing to do with the HRA. As a practical
matter, such an injunction would strip SS&C of any ability to establish the terms of use for one
of its flagship software products—because the existing licenses would all now be artificially and
perpetually frozen, with no opportunity for renegotiation or cancelation. A more onerous
imposition on the constitutionally protected rights of an intellectual property owner 1s difficult to
imagine. See Salinger v. Colting, 607 F.3d 68, 81 (2d Cir. 2010) (copyright holders have the
right to license or not license their copyrighted work at their discretion, and protecting that right
is in the public’s interest).

Denial of the TRO, on the other hand, would maintain the status quo in which the four
resold customers’ Geneva licenses would gradually expire over the next few years and SS&C
would be free to enter direct licenses on terms of its choosing. The devaluation of SS&C’s
intellectual property rights across the board easily trumps any discrete and gradual business loss
that Arcesium speculates that it might suffer.

CONCLUSION

For the foregoing reasons, this Court should deny Arcesium’s TRO application.

Dated: New York, New York Respectfully submitted,
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